               UNITED STATES DISTRICT COURT WESTERN
                    DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:19-cv-00135-MR

MATTHEW JAMES GRIFFIN,           )
                                 )
              Plaintiff,         )
                                 )
vs.                              )                 ORDER
                                 )
ERIK A. HOOKS, et al.,           )
                                 )
              Defendants.        )
________________________________ )

    THIS MATTER is before the Court on the following:

    (1)   Plaintiff’s “Second Motion for Sanctions Under Rules 37(b) and

          (d)” [Doc. 79];

    (2)   Plaintiff’s “Fifth Motion for a 120 Day Extension of Time Within

          Which to Join/Substitute Parties and serve process under Rule

          4(m)” [Doc. 83];

    (3)   Plaintiff’s “Third Motion for Sanctions Under Rule 37(b) and (d)”

          [Doc. 86]; and

    (4)   Plaintiff’s “Motion For An Order Requiring Personal Service and

          Motion for an Order of Substitution” [Doc. 87].




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       Pro se Plaintiff Matthew James Griffin (“Plaintiff”) is a prisoner of the

State of New Mexico currently incarcerated at the Penitentiary of New

Mexico. He filed this action on March 20, 2019, pursuant to 42 U.S.C. §

1983, asserting claims he alleges arose while he was incarcerated at

Alexander Correctional Institution in Taylorsville, North Carolina. [Doc. 1].

Before initial review was conducted, Plaintiff filed an Amended Complaint

[Doc. 8] and a Second Amended Complaint [Doc. 13]. Plaintiff’s Second

Amended Complaint survived initial review on November 14, 2019, as

specified in the Court’s Order. [Doc. 16]. The remaining Defendants in this

matter include Erik A. Hooks, W. David Guice, Kenneth E. Lassiter, Eric T.

Dye, Kenneth A. Beaver, Finesse G. Couch, Elizabeth D. Wallace, FNU

Clifton, FNU Quinn, FNU Caldwell, FNU Clawson, and Doe Defendants #1-

#40.

       For the sake of judicial economy, especially in this case, which has

disproportionately engaged the Court’s resources, the Court herein adopts

its Orders at Docket Nos. 16, 66, 77, and 80 by reference. The Court has

reviewed the relevant filings and procedural history and current posture of

this case in detail in determining the pending motions.

       The Court finds, based on the totality of circumstances in this case,

that issuing the sanctions sought by Plaintiff would not be appropriate at this


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time.    Although counsel for Defendant has woefully lacked diligence in

defending this matter, the delays and non-compliance do not appear the

result of bad faith or other malfeasance. The Court will, therefore, deny

Plaintiff’s motions for sanctions. The Court, however, will order Defendant

Hooks to file an update with the Court regarding the status of his long

overdue responses to Plaintiff’s discovery requests at Docket Nos. 73-7 and

73-8. If Defendant Hooks has responded to these requests, Defendant

Hooks shall file a complete copy of his responses with the Court with his

status update. If Defendant Hooks has not responded to these requests,

Defendant Hooks shall respond to them within fourteen (14) days of this

Order and shall file a copy of his responses with the Court

contemporaneously with his service on Plaintiff.

        Should Defendant Hooks not timely respond to these discovery

requests as ordered by the Court here, the Court will strike Defendant Hooks’

Answer to the Plaintiff’s Second Amended Complaint, order that Plaintiff’s

factual allegations therein be deemed admitted, and enter default against

Defendant Hooks. The Court may also issue additional sanctions against

counsel and/or Defendant Hooks, as appropriate, should Defendant Hooks

fail to timely respond to these requests. As to the other relief sought by

Plaintiff in his pending motions, the Court addressed it below.


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                                    ORDER

      IT IS, THEREFORE, ORDERED that Plaintiff’s Motions for Sanctions

[Docs. 79, 86] are DENIED.

      IT IS FURTHER ORDERED that Defendant Hooks shall have fourteen

(14) days from this Order to file a status update with the Court as set forth

above, to fully respond to Plaintiff’s discovery requests at Docket Nos. 73-7

and 73-8, and to otherwise comply with the terms of this Order as set forth

in detail above.

      IT IS FURTHER ORDERED that Plaintiff’s motion [Doc. 87] is

GRANTED insofar as Christopher Caldwell is substituted for Defendant FNU

Caldwell as a Defendant in this matter and the North Carolina Department of

Public Safety (NCDPS) shall file under seal the last known address of

Defendant Christopher Caldwell, who is believed to be a current NCDPS

employee, within seven (7) days of this Order, so that the Court may order

service.

      IT IS FURTHER ORDERED that Plaintiff’s motion [Doc. 83] is

GRANTED insofar as Plaintiff shall have twenty-one (21) days from

Defendant Hooks’ filing of his discovery responses as set forth in this Order

to identify and serve the Doe Defendants in this matter. Should Plaintiff fail

to timely identify and serve the Doe Defendants they will be dismissed from


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this matter without prejudice and without further notice to Plaintiff.

      IT IS FURTHER ORDERED that any other relief sought by Plaintiff in

the pending motions [Docs. 79, 83, 86, 87] not specifically addressed herein

is DENIED.

      IT IS FURTHER ORDERED that the discovery and dispositive motions

deadlines in this case are hereby STAYED pending further order of the

Court.

      The Clerk is respectfully instructed to provide a copy of this Order to

the NCDPS so that it may comply with this Order.

      The Clerk is also directed to update the docket in this matter to reflect

the true identify of Defendant FNU Caldwell as Christopher Caldwell.

      IT IS SO ORDERED.
                                   Signed: March 13, 2021




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